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                                         UNITED STATES DISTRICT COURT
                                                DISTRICT OF MARYLAND

         CHAMBERS OF                                                                            U.S. COURTHOUSE
       AJMEL A. QUERESHI                                                                     6500 CHERRYWOOD LANE
UNITED STATES MAGISTRATE JUDGE                                                             GREENBELT, MARYLAND 20770
                                                                                                   (301) 344-0393


                                                    April 11, 2024


        Via Electronic Filing

        To:      Counsel of Record

        Re:      Yao v. Chen et al.
                 Civil Action No. TDC-23-889

        Dear Counsel,

                I hope this letter finds you well. Please be advised that the above referenced case has been
        referred to my chambers for the purpose of a settlement conference. The settlement conference has
        been scheduled virtually via Zoom.Gov for June 25, 2024, at 10:00 a.m. A separate email will
        follow at least one week prior to the conference with details regarding the use of Zoom.
        Additional details regarding the conduct of the conference and actions required before the
        conference are included below. The Court will consider a JOINT request to conduct an in-person
        conference if all necessary participants agree to appear in person. Such requests should be submitted
        by joint letter to my chambers within one week of this letter and should include a short statement as
        to why an in-person conference is preferred.

                Per Local Rule 607.3, it is essential that the parties, or in the case of a corporation,
        partnership, or government entity, a representative with complete authority to enter into a binding
        settlement, participate in this conference. A person with “complete authority” is someone who has
        the experience and judgment to exercise that authority. Please provide the name(s) and title(s) (if
        appropriate) of all individuals who will be attending the conference. Attendance by only the
        attorney for the represented party is insufficient. Please also be advised that the conference may last
        for several hours and all those in attendance should plan accordingly.

                At least fourteen days prior to the settlement conference, the parties shall separately
        submit an ex parte letter by electronic mail to mdd_AAQChambers@mdd.uscourts.gov. It is
        suggested that the ex parte letter not exceed eight pages (twelve-point font, single spaced, with an
        extra line between paragraphs), but longer letters will be accepted in complex, large, or longer
        running cases. A party should carefully consider whether their case meets any of these requirements
        before exceeding the eight-page suggested limit. The letter should candidly set forth the facts and
        law relevant to the settlement, including, but not limited to:

                 a) The facts the party believes it can prove at trial;

                 b) The major weaknesses in each side’s case, both factual and legal;
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        c) The title and docket number of any dispositive or other motions that would have a
           significant effect on settlement (please include a copy of the motion(s) with the letter),
           including an explanation of why the party believes they are relevant to settlement;

        d) An evaluation of the maximum and minimum damage awards the party believes likely,
           and the amount of existing liens;

        e) Documentation, if applicable, supporting the position that a lack of financial resources
           will impact the party’s ability to pay a judgment or settlement. If this position is to be
           advanced, the party shall also include a summary of its finances, including cash on hand,
           ownership interests in property, business, and other assets, and the amount of relevant
           mortgages or liens, and recent income tax information;

        f) The history of any settlement negotiations to date;

        g) An estimate of attorney’s fees and costs of litigation, currently incurred, and anticipated
           to be incurred were the case to proceed through trial; and

        h) The name(s) and title(s) (if applicable) of the individual(s) who will be attending the
           conference.
        The letters will be solely for the purpose of my use in preparing for the settlement
conference. I will review select proceedings in the court file and case authorities in advance of the
settlement conference, but if there are any authorities the party believes are critical to the evaluation
of their case, please identify them. If the party wants me to review any exhibits or deposition
excerpts, please attach a copy to your letter by email. Please provide via mail or hand-delivery to
chambers a paper copy of all attachments exceeding twenty-five pages within seven days of
electronically mailing the ex parte letter.

        Since settlement conferences are often more productive if the parties have previously
exchanged demands and offers and have made a good faith effort on their own, I require that the
Plaintiff submit a written itemization of damages and a settlement demand to the Defendant no
later than twenty-eight days before the settlement conference. The Defendant shall submit a
written offer to the Plaintiff and any alternate itemization of damages within seven days of
receiving the demand. The demand and offer correspondence shall be included with the ex parte
letter provided to my chambers. After the exchange of the demand and offer, the parties should
continue to engage in negotiations. 1



1 Please note that the American Bar Association Standing Committee on Ethics and Professional
Responsibility has issued a Formal Opinion (No. 93-370) that precludes a lawyer, absent informed
client consent, from revealing to a judge the limits of a lawyer’s settlement authority or the lawyer’s
advice to the client regarding settlement. The Opinion does not preclude a judge, in seeking to
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       If counsel believes that a telephone conference prior to June 25, 2024, would make
settlement more productive, please contact my chambers at the address above to make arrangements.

        Notwithstanding this document’s form as a letter, it is an Order of the Court and the Clerk
has been asked to docket it as such. Accordingly, failure to comply with its terms without
justification may result in the imposition of sanctions.

       I look forward to seeing you virtually on June 25, 2024, and appreciate your hard work and
diligence in adhering to this Order.

                                             All the best,

                                                    /s/

                                             Ajmel A. Quereshi
                                             United States Magistrate Judge




facilitate a settlement, from inquiring into these matters. Accordingly, please discuss these items
with your client before appearing at the settlement conference.
